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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

ALAN VARNADOE,                            )
                                          )   Civil Action File No.___________
      Plaintiff,                          )
                                          )
v.                                        )   JURY TRIAL DEMANDED
                                          )
GOLDEN STATE FOODS CORP.,                 )
                                          )
      Defendant                           )

        COMPLAINT FOR EQUITABLE RELIEF AND DAMAGES

      Plaintiff Alan Varnadoe (“Plaintiff” or “Varnadoe”) files this Complaint for

Equitable Relief and Damages against Golden State Foods Corp. (“Defendant” or

“GSF”) showing the Court the following:

                                INTRODUCTION

      This action arises out of Defendant’s discriminatory and retaliatory

termination of Varnadoe based on his disability and request for a reasonable

accomodation. Defendant GSF is an international for-profit business that provides

supplies to the food service industry. Plaintiff Varnadoe provided 26 years of service

to GSF, receiving a merit bonus as recently as February 2020. Varnadoe was also a

qualified individual with a disability, suffering from Chronic Obstructive Pulmonary

Disease (“COPD”), a condition which compromises the resipiratory system and
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places him at an elevated risk from the coronavirus. Varnadoe also has a record of

being disabled.

      In mid-March 2020, GSF directed Varnadoe and other employees at its plant

in Conyers, Georgia to work remotely due to the coronavirus. A month later,

Varnadoe’s supervisors told him to return to work in person. Varnadoe requested an

accommodation of continuing to work remotely, because his disability increased his

risk of serious illness from the coronavirus. Four days after Varnadoe requested his

accommodation, GSF terminated him. GSF claimed it terminated Varnadoe as part

of broad coronavirus-related job cuts, but other members of Varnadoe’s team who

had been working remotely were not eliminated, and GSF did not make significant

job reductions at Varnadoe’s worksite.

      Varnadoe brings claims of disabilility discrimination, failure to accommodate,

and retaliation against GSF under the Americans with Disabilities Act Amendments

Act of 2008 (“ADA”), 42 U.S.C. § 12101 et seq. He seeks declaratory and injunctive

relief, damages, and his attorneys’ fees and costs.

                              Jurisdiction and Venue

      1.     This Court has jurisdiction under 42 U.S.C. § 12101 et seq., 28 U.S.C.

§ 1331 (federal question) and 28 U.S.C. § 1343 (civil rights).


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      2.      This district and division are proper venues under 28 U.S.C. § 1391

because Defendant GSF conducts business in this district and division, and because

Defendant committed its actions giving rise to this case within the Northern District

of Georgia.

                     Exhaustion of Administrative Remedies

      3.      On June 6, 2020, Varnadoe filed a charge of discrimination – Charge

No. 410-2020-06730 – with the Equal Employment Opportunity Commission within

180 days of the occurrence of the acts of which he complains.

      4.      On January 14, 2021, Varnadoe received a Notice of Right to Sue.

      5.      Varnadoe brings this suit within ninety (90) days of the receipt of his

Notice of Right to Sue.

                                     The Parties

      6.      Varnadoe is a citizen of the United States and a resident of the State of

Georgia. Varnadoe submits himself to the jurisdiction of this Court.

      7.      Varnadoe is and, at all times relevant hereto was, an individual with a

disability as that term is defined by 42 U.S.C. § 12102(1).

      8.      Varnadoe is a person with a disability because he has an actual physical

impairment – COPD – which causes substantial limitations in one or more major


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life activities, because he has a record of impairment, and because GSF regarded

him as having an impairment.

      9.     Varnadoe was, at all times material to this Complaint, capable of

performing the essential functions of his job with or without an accommodation.

      10.    Defendant GSF is a foreign profit organization that provides supplies to

the foodservice industry.

      11.    GSF is registered to do business in Georgia and conducts business in this

District and venue.

      12.    GSF was, at all times material to this Complaint, an employer engaged

in commerce or in an industry affecting commerce within the meaning of the ADA

and has employed more than 15 persons for each working day in each of 20 calendar

weeks in the current or preceding calendar year.

      13.    At all times relevant to this Complaint, GSF was Varnadoe’s employer,

and Varnadoe was GSF’s employee, within the meaning of the ADA, 42 U.S.C.

§12111(4) and (5).

      14.    GSF may be served with summons and a copy of this Complaint by

delivering process to its registered agent, Corporation Service Company, 40

Technology Parkway South, Suite 300, Norcross, Georgia 30092.


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                               Statement of Facts

       15.   Defendant GSF, at all times material to this Complaint, employed

several thousand fulltime employees.

       16.   In 2020, GSF employeed over 5,000 fulltime employees.

       17.   During the year 2019, GSF earned revenues of approximately $6.9

billion.

       18.   Varnadoe began working for GSF in June 1994.

       19.   Since beginning his career with GSF, Varnadoe was promoted multiple

times, with his last promotion being to the position of Scheduler at GSF’s plant in

Conyers, Georgia.

       20.   During the period relevant to this Complaint, Varnadoe’s supervisors

were Supply Chain Director Dawn Warner and Demand Planning Manager Tammy

Rosser.

       21.   In February 2020, Varnadoe received a merit-based bonus.

       22.   At all times material to this Complaint, Varnadoe suffered from COPD.

       23.   COPD substantially limits Varnadoe in several major life activities,

including breathing and walking, because, inter alia, COPD causes Varnadoe severe

shortness of breath during even minor physical exertion such as walking across a


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room.

        24.   Additional major life activities impacted by Varnadoe’s COPD include

his respiratory and circulatory functions.

        25.   Varnadoe was a qualified individual with a disability in that he had

successfully performed his job without accommodation for years prior to the mid-

March 2020 events pled below..

        26.   During 2020, the novel coronavirus caused a number of shut-downs

throughout the United States.

        27.   COVID-19, the illness caused by the novel coronavirus, frequently

causes severe respiratory problems, among other health problems, and it has killed

over 500,000 Americans as of the filing of this Complaint.

        28.   According to the Centers for Disease Control and Prevention, people

with COPD are known to be at increased risk of severe illness from COVID-19. See

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-

medical-conditions.html.

        29.   In mid-March 2020, as a response to COVID-19, GSF directed many

of its Conyers-based employees, including Varnadoe and at least three other

members of his department, to work from home to the maximum extent possible.


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      30.    Varnadoe and other employees complied with this directive.

      31.    GSF had already provided Varnadoe with a company laptop, and

Varnadoe was accustomed to working outside of normal work hours as a Scheduler,

because working off-hours is a normal part of that job.

      32.    On or about April 10, 2020, Warner and Rosser directed Varnadoe and

three other members of his department to return to work in-person at the Conyers

plant on April 14, 2020.

      33.    By this time, multiple employees at GSF’s Conyers plant were known

or suspected to have been infected with the coronavirus.

      34.    On or about April 13, 2020, Varnadoe called Warner.

      35.    Varnadoe told Warner that at his age (66) and with his underlying

health condition (COPD), COVID-19 posed an elevated risk to him, and Varnadoe

asked if he could continue working remotely as an accommodation for his disability.

      36.    Varnadoe also reminded Warner that he had recovered from a battle

with lung cancer several years prior.

      37.    Prior to these conversations, Warner and others in GSF’s management

knew of Varnadoe’s disability because he had discussed it with them.

      38.    Though Varnadoe requested the accommodation of continuing to work


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remotely, he told Warner he would return to working in person if Defendant deemed

it necessary.

      39.       Warner told Varnadoe to continue working remotely until she could

speak with Human Resources about his request.

      40.       Varnadoe complied with Warner’s directive.

      41.       On or about April 17, 2020, Warner called Varnadoe. Defendant’s

Group Vice President Jason Slipsager and Defendant’s Senior Plant Human

Resources Manager Lamar Torrence joined the call.

      42.       They told Varnadoe he was laid off effective immediately as part of

broader job reductions related to COVID-19. .

      43.       Defendant did not lay off the other three members of Varnadoe’s

department who had also worked remotely.

      44.       Upon information and belief, these department-mates of Varnadoe

were not qualified individuals with a disability under the ADA, and none of them

requested disability-related accommodations to continue working from home due to

elevated coronavirus risk.

      45.       Defendant made fewer than ten job elimiantions among positions at or

above Varnadoe’s level at the Conyers plant at the time Defendant told Varnadoe he


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was laid off.

      46.       In July 2020, just three months after allegedly laying off Varnadoe due

to claimed broad coronavirus-related job cuts, GSF announced the opening of a new

7,000 square-foot Innovation Center in Conyers that will develop hundreds of new

products. https://goldenstatefoods.com/news/new-gsf-innovation-center-opens-at-

conyers-liquid-products-facility/.

      47.       After eliminating Varnadoe, GSF has advertisted the availability of,

and hired for, multiple jobs at its Conyers facility including managerial positions at

levels comparable to Varnadoe’s former position.

      48.       GSF acted willfully against Varnadoe and his federally protected rights

in denying him a reasonable accommodation for his disability, and in terminating

him because he is a qualified person with a disability and/or in retaliation for his

accommodation request.

      49.       Additionally, and in the alternative, GSF acted with reckless disregard

for Varnadoe and his federally protected rights.

      50.       GSF’s above-pled actions caused Varnadoe damages including, but not

limited to, lost compensation and benefits, and emotional damages.




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                                    COUNT I
                       Violation of ADA – Regarded as Disabled

      51.    Varnadoe incorporates by reference all the preceding paragraphs of the

Complaint.

      52.    At all times relevant hereto, GSF has been subject to the requirements

of Title I of the Americans with Disabilities Act as amended by the Americans with

Disabilities Amendments Act.

      53.    At all times relevant hereto, Varnadoe was an individual with a

disability as defined under the ADA, 42 U.S.C. § 12102 (1)(C) because GSF

regarded him as a person with an impairment as defined by the Act.

      54.    Moreover, at all times relevant hereto, Varnadoe has been a qualified

individual with a disability as that term is defined by 42 U.S.C. § 12111(8) and able

to perform the essential functions of the job.

      55.    GSF terminated Varnadoe because it regarded him as disabled.

      56.    GSF’s actions violated Section 102 of the ADA, 42 U.S.C. § 12112,

which prohibits discrimination on the basis of disability.

      57.    GSF’s above-pled actions caused and continue to cause Varnadoe to

suffer lost compensation and other employment benefits.

      58.    GSF’s above-pled actions caused and continue to cause Varnadoe to

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suffer emotional distress, mental anguish, loss of enjoyment of life, and other non-

pecuniary losses all in an amount to be established at trial.

       59.    GSF acted intentionally and willfully in violation of Varnadoe’s

federally protected rights, entitling Varnadoe to punitive damages.

       60.    Additionally and in the alternative, GSF acted with reckless disregard

toward Varnadoe and his federal rights, also entitling Varnadoe to punitive damages.

                                 COUNT II
   Actual Discrimination and Failure to Accommodate in Violation of ADA

       61.    Varnadoe incorporates by reference all the preceding paragraphs of the

Complaint.

       62.    At all times relevant hereto, GSF has been subject to the requirements

of Title I of the Americans with Disabilities Act as amended by the Americans with

Disabilities Amendments Act.

       63.    At all times relevant hereto, Varnadoe was an individual with a

disability as defined by the ADA, 42 U.S.C. § 12102 (1)(A) and/or 42 U.S.C. §

12102(B).

       64.    GSF was aware of Varnadoe’s disabilities and history and record of

disability.

       65.    At all times relevant hereto, Varnadoe has been a qualified individual

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with a disability as that term is defined by 42 U.S.C. § 12111(8) and able to perform

the essential functions of his job.

       66.    Varnadoe’s disabilities substantially limit one or more major life

activities.

       67.    Varnadoe requested a reasonable accommodation from GSF relating to

his disability: the ability to work remotely as opposed to working in a plant with

suspected cases of COVID-19 as, due to his COPD, he was at elevated risk from the

COVID-19 virus.

       68.    Varnadoe’s accommodation request was reasonable because because

there was a track record establishing that Varnadoe and others in his department and

facility could adequately perform their jobs remotely.

       69.    GSF failed to accommodate Varnadoe’s disability and failed to engage

in an interactive process with Varnadoe regarding his accommodation request.

       70.    GSF terminated Varnadoe’s employment because of his disability

and/or to deny him his requested accommodation.

       71.    GSF’s actions amount to a violation of Section 102 of the ADA, 42

U.S.C. § 12112, which prohibits discrimination on the basis of disability and requires

reasonable accommodation for disabilities.


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      72.    GSF’s above-pled actions caused and continue to cause Varnadoe to

suffer lost compensation and other employment benefits.

      73.    GSF’s above-pled actions caused and continue to cause Varnadoe to

suffer emotional distress, mental anguish, loss of enjoyment of life, and other non-

pecuniary losses all in an amount to be established at trial.

      74.    GSF acted intentionally and willfully in violation of Varnadoe’s

federally protected rights, entitling Varnadoe to punitive damages.

      75.    Additionally and in the alternative, GSF acted with reckless disregard

toward Varnadoe and his federal rights, also entitling Varnadoe to punitive damages.

                                     COUNT III
                         Retaliation in Violation of the ADA

      76.    Varnadoe incorporates by reference all the preceding paragraphs of the

Complaint.

      77.    At all times relevant hereto, GSF has been subject to the requirements

of Title I of the ADA.

      78.    At all times relevant hereto, Varnadoe was an individual with a

disability as defined by the ADA, 42 U.S.C. § 12102 (1)(A) and/or (B) and/or (C).

      79.    Varnadoe engaged in protected activity under the ADA when he

requested an accommodation of continuing to work remotely to accommodate his

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COPD.

      80.    GSF terminated Varnadoe’s employment in retaliation for requesting

an accommodation in violation of the ADA.

      81.    GSF’s above-pled actions caused and continue to cause Varnadoe to

suffer lost compensation and other employment benefits.

      82.    GSF’s above-pled actions caused and continue to cause Varnadoe to

suffer emotional distress, mental anguish, loss of enjoyment of life, and other non-

pecuniary losses all in an amount to be established at trial.

      83.    GSF acted intentionally and willfully in violation of Varnadoe’s

federally protected rights, entitling Varnadoe to punitive damages.

      84.    Additionally and in the alternative, GSF acted with reckless disregard

toward Varnadoe and his federal rights, also entitling Varnadoe to punitive damages.

                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiff demands a TRIAL BY JURY and that the following

relief be granted:

             (a)     Issue a declaratory judgment that GSF’s acts, policies, practices,

      and procedures complained of herein violated Varnadoe’s rights as secured

      under the ADA;


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       (b)    Grant to Varnadoe judgment in his favor and against GSF under

 all counts of this Complaint;

       (c)    Order GSF to make Varnadoe whole by providing for his out-of-

 pocket losses as well as back pay in an amount equal to the sum of any wages,

 salary, employment benefits or other compensation denied or lost as a result

 of GSF’s unlawful and discriminatory acts, together with interest thereon, all

 in an amount to be proven at trial;

       (d)    Order that Varnadoe be reinstated or, in the alternative, be

 awarded front pay;

       (e)    Order GSF to compensate Varnadoe for mental and emotional

 damages suffered as a result of GSF’s unlawful and discriminatory acts;

       (f)    Grant to Varnadoe punitive damages for GSF’s willful and

 intentional violations of the ADA as provided by 42 U.S.C. § 12117(a)(as

 amended)

       (g)    Grant to Varnadoe a jury trial on all issues so triable;

       (h)    Grant to Varnadoe his reasonable attorneys’ fees and reasonable

 expert witness fees together with any and all other costs associated with this

 action as provided by the ADA, 42 U.S.C. § 12205; and


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             (i)   Grant such additional monetary and equitable relief as the Court

      deems proper and just.

             Respectfully submitted this 8th day of March 2021,

                                      LEGARE, ATTWOOD & WOLFE, LLC

                                      s/ Steven E. Wolfe
                                      Steven E. Wolfe
                                      Georgia Bar No. 142441
                                      Marissa R. Torgerson
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